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           Case 17-01458-JMM                                     Doc 53              Filed 12/15/17 Entered 12/15/17 16:58:55                                                            Desc Main
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 Fill in this information to identify the case:

 Debtor name            Shiloh Managment Services, Inc.

 United States Bankruptcy Court for the:                       DISTRICT OF IDAHO

 Case number (if known)               17-01458
                                                                                                                                                                                    Check if this is an
                                                                                                                                                                                        amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                    12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                   $        5,800,000.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                      $            78,525.00

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                     $        5,878,525.00


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                   $      10,563,438.93


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                      $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                              +$        4,126,319.38


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                            $        14,689,758.31




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                  page 1
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 Fill in this information to identify the case:

 Debtor name          Shiloh Managment Services, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF IDAHO

 Case number (if known)         17-01458
                                                                                                                                  Check if this is an
                                                                                                                                        amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                        12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
       Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                    Current value of
                                                                                                                                        debtor's interest

 3.         Checking, savings, money market, or financial brokerage accounts (Identify all)
            Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                             number
                                                                            Business checking
            3.1.     Chase Bank                                             account                          9526                                           $0.00




            3.2.     ICON Credit Union                                      Business Checking                9100                                           $0.00




            3.3.     Idaho Central Credit Union                             Checking                                                                     $500.00




            3.4.     Idaho Central Credit Union                             Savings                                                                       $25.00



 4.         Other cash equivalents (Identify all)


            4.1.     Funds in escrow at Pioneer Title Co. to be released to Debtor                                                                   $9,500.00




 5.         Total of Part 1.                                                                                                                    $10,025.00
            Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:           Deposits and Prepayments

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                              page 1
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 Debtor         Shiloh Managment Services, Inc.                                               Case number (If known) 17-01458
                Name

6. Does the debtor have any deposits or prepayments?

     No.    Go to Part 3.
     Yes Fill in the information below.

 Part 3:        Accounts receivable
10. Does the debtor have any accounts receivable?

     No.    Go to Part 4.
     Yes Fill in the information below.

 Part 4:        Investments
13. Does the debtor own any investments?

     No.    Go to Part 5.
     Yes Fill in the information below.

 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

     No.    Go to Part 6.
     Yes Fill in the information below.

 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

     No.    Go to Part 7.
     Yes Fill in the information below.

 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

     No.    Go to Part 8.
     Yes Fill in the information below.

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

     No. Go to Part 9.
     Yes Fill in the information below.
           General description                                                Net book value of      Valuation method used      Current value of
           Include year, make, model, and identification numbers              debtor's interest      for current value          debtor's interest
           (i.e., VIN, HIN, or N-number)                                      (Where available)

 47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles


 48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels

 49.       Aircraft and accessories


 50.       Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 2
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 Debtor         Shiloh Managment Services, Inc.                                               Case number (If known) 17-01458
                Name

           Dump Trailer                                                                     $0.00                                            $8,500.00



 51.       Total of Part 8.                                                                                                              $8,500.00
           Add lines 47 through 50. Copy the total to line 87.

 52.       Is a depreciation schedule available for any of the property listed in Part 8?
            No
            Yes
 53.       Has any of the property listed in Part 8 been appraised by a professional within the last year?
            No
            Yes
 Part 9:        Real property
54. Does the debtor own or lease any real property?

     No. Go to Part 10.
     Yes Fill in the information below.
 55.       Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

           Description and location of                    Nature and          Net book value of      Valuation method used      Current value of
           property                                       extent of           debtor's interest      for current value          debtor's interest
           Include street address or other                debtor's interest   (Where available)
           description such as Assessor                   in property
           Parcel Number (APN), and type
           of property (for example,
           acreage, factory, warehouse,
           apartment or office building, if
           available.
           55.1. Bare land at:
                     20189 Silver Spur
                     Wilder, Idaho 83687                  Fee Simple                   Unknown       N/A                                   $40,000.00


           55.2.     Bare land at:
                     20157 Silver Spur
                     Wilder, ID 83687                     Fee Simple                   Unknown       N/A                                   $40,000.00


           55.3.     Bare land at:
                     20125 Silver Spur
                     Wilder, ID 83687                     Fee Simple                   Unknown                                             $40,000.00


           55.4.     Bare land at:
                     20093 Silver Spur
                     Wilder, ID 83687                     Fee Simple                   Unknown                                             $40,000.00


           55.5.     Bare land at:
                     20194 Silver Spur
                     Wilder, ID 83687                     Fee Simple                   Unknown                                             $40,000.00


           55.6.     Bare land at:
                     20172 Silver Spur
                     Wilder, ID 83687                     Fee Simple                   Unknown                                             $40,000.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                      page 3
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           55.7.     Bare land at:
                     20150 Silver Spur
                     Wilder, ID 83687                     Fee Simple                   Unknown                                        $40,000.00


           55.8.     Bare land at:
                     20128 Silver Spur
                     Wilder, ID 83687                     Fee Simple                   Unknown                                        $40,000.00


           55.9.     Bare land at:
                     20106 Silver Spur
                     Wilder, ID 83687                     Fee Simple                   Unknown                                        $40,000.00


           55.10 Bare land at:
           .     20084 Silver Spur
                     Wilder, ID 83687                     Fee Simple                   Unknown                                        $40,000.00


           55.11 Bare land at:
           .     20040 Silver Spur
                     Wilder, ID 83687                     Fee Simple                   Unknown                                        $40,000.00


           55.12 Bare land at:
           .     20018 Silver Spur
                     Wilder, ID 83687                     Fee Simple                   Unknown                                        $40,000.00


           55.13 Bare land at:
           .     20154 Ebenezer Lane
                     Caldwell, ID 83607                   Fee Simple                   Unknown                                        $35,000.00


           55.14 Bare land at:
           .     Bellomy Lane
                     Wilder, ID 83687                     Fee Simple                   Unknown                                        $30,000.00


           55.15 Bare land at:
           .     27580 Wheat Ridge
                     Wilder, ID 83687                     Fee Simple                   Unknown                                        $35,000.00


           55.16 Bare land at:
           .     27620 Petolla Road
                     Wilder, ID 83687                     Fee Simple                   Unknown                                        $35,000.00


           55.17 Bare land at:
           .     Fargo Road
                     Wilder, ID 83687                     Fee Simple                   Unknown                                        $45,000.00


           55.18 Bare land at:
           .     17182 Sand Hallow
                     Caldwell, ID 83607                   Fee Simple                   Unknown                                      $250,000.00


           55.19 Bare land at:
           .     27790 Ustick
                     Caldwell, ID 83607                   Fee Simple                   Unknown                                        $60,000.00

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                               page 4
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 Debtor         Shiloh Managment Services, Inc.                                              Case number (If known) 17-01458
                Name



           55.20 Bare land at:
           .     123 14th Avenue
                     North
                     Nampa, ID 83651                      Fee Simple                   Unknown                                        $80,000.00


           55.21 Bare land at:
           .     12191 Gilgal a/k/a
                     26499 Cemetary
                     Road
                     Middleton, ID 83644                  Fee Simple                   Unknown                                      $120,000.00


           55.22 Bare land
           .     w/foundation and
                     permits at:
                     12197 Gilgal
                     Middleton, ID 83644                  Fee Simple                   Unknown                                      $100,000.00


           55.23 House and 5 acres at:
           .     9212 Fish Pond
                     Melba, ID 83641                      Fee Simple                   Unknown                                      $320,000.00


           55.24 House on 1.36 acres
           .     at:
                     19872 Wilson Lane
                     Wilder, ID 83676                     Fee Simple                   Unknown                                      $300,000.00


           55.25 House on 1.01 acres
           .     at:
                     19925 Wilson Lane
                     Wilder, ID 83676                     Fee Simple                   Unknown                                      $300,000.00


           55.26 House on 1 acre lot
           .     at:
                     19967 Wilson Lane
                     Wilder, ID 83676                     Fee Simple                   Unknown                                      $300,000.00


           55.27 House on 1.3 acres
           .     at:
                     27394 Warren Lane
                     Wilder, ID 83676                     Fee Simple                   Unknown                                      $300,000.00


           55.28 House on 1.27 acres
           .     at:
                     27438 Warren Lane
                     Wilder, ID 83676                     Fee Simple                   Unknown                                      $300,000.00


           55.29 Bare land at:
           .     4 Centerpoint Road
                     Caldwell, ID 83607                   Fee Simple                   Unknown                                        $30,000.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                               page 5
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 Debtor         Shiloh Managment Services, Inc.                                              Case number (If known) 17-01458
                Name

           55.30
           .     19944 Wilson
                     Wilder, ID 83767                     Fee simple                        $0.00                                   $300,000.00


           55.31
           .     19972 Wilson
                     Wilder, ID 83767                     Fee Simple                        $0.00                                   $300,000.00


           55.32 Base land at:
           .     3 Centerpoint Rd
                     Caldwell, ID 83607                   fee simple                        $0.00                                     $30,000.00


           55.33 Base land at:
           .     5 Centerpoint Rd.
                     Caldwell, ID 83607                   fee simple                        $0.00                                     $30,000.00


           55.34
           .     1661 6th Street South
                     Nampa, ID 83651                      Fee Simple                        $0.00                                     $80,000.00


           55.35
           .     25978 Chandler
                     Wilder, ID 83767                     Fee Simple                        $0.00                                   $300,000.00


           55.36
           .     3807 Wheeler
                     Nampa, ID 83686                      Fee Simple                        $0.00                                   $200,000.00


           55.37
           .     16653 Garnett
                     Wilder, ID 83767                     Fee Simple                        $0.00                                   $250,000.00


           55.38
           .
                     134 Delaware                         Fee Simple                        $0.00                                   $170,000.00


           55.39
           .     904 7th Ave. North
                     Nampa, ID 83687                      Fee Simple                        $0.00                                   $130,000.00


           55.40
           .
                     Lot 2 Golden Hills                   Fee Simple                        $0.00                                     $70,000.00


           55.41
           .
                     Lot 7 Golden Hills                   Fee Simple                        $0.00                                     $70,000.00


           55.42
           .
                     Lot 14 Golden Hills                  Fee Simple                        $0.00                                     $70,000.00


           55.43
           .     125 1st St. North,
                     Nampa, ID 83651                      Fee simple                        $0.00                                   $180,000.00

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                               page 6
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 Debtor         Shiloh Managment Services, Inc.                                              Case number (If known) 17-01458
                Name



            55.44 6268 Lake Hazel
            .     Nampa, ID 83646

                     Debtor claims an
                     equitable interest in
                     property, does not
                     have legal title.                                                      $0.00                                       $500,000.00




 56.        Total of Part 9.                                                                                                       $5,800,000.00
            Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
            Copy the total to line 88.

 57.        Is a depreciation schedule available for any of the property listed in Part 9?
             No
             Yes
 58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
             No
             Yes
 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

     No.    Go to Part 11.
     Yes Fill in the information below.

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

     No. Go to Part 12.
     Yes Fill in the information below.
                                                                                                                               Current value of
                                                                                                                               debtor's interest


 71.        Notes receivable
            Description (include name of obligor)

 72.        Tax refunds and unused net operating losses (NOLs)
            Description (for example, federal, state, local)

 73.        Interests in insurance policies or annuities

 74.        Causes of action against third parties (whether or not a lawsuit
            has been filed)
            $35,000 judgment against Kevin Bech and R 3
            Renovations, LLC
            Canyon County Case No. CV-2015-10151                                                                                         $35,000.00
            Nature of claim       Judgment
            Amount requested                     $35,000.00



 75.        Other contingent and unliquidated claims or causes of action of
            every nature, including counterclaims of the debtor and rights to
            set off claims

 76.        Trusts, equitable or future interests in property

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                  page 7
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 77.       Other property of any kind not already listed Examples: Season tickets,
           country club membership

           M-2 .50cal Browning machine gun                                                                                            $25,000.00




 78.       Total of Part 11.                                                                                                       $60,000.00
           Add lines 71 through 77. Copy the total to line 90.

 79.       Has any of the property listed in Part 11 been appraised by a professional within the last year?
            No
            Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                               page 8
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                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                            $10,025.00

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                                   $0.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                        $8,500.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                      $5,800,000.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                  $60,000.00

 91. Total. Add lines 80 through 90 for each column                                                              $78,525.00          + 91b.            $5,800,000.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $5,878,525.00




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                           page 9
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 Fill in this information to identify the case:

 Debtor name          Shiloh Managment Services, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF IDAHO

 Case number (if known)              17-01458
                                                                                                                                        Check if this is an
                                                                                                                                             amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                   Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                               Amount of claim             Value of collateral
                                                                                                                                               that supports this
                                                                                                                   Do not deduct the value     claim
                                                                                                                   of collateral.
        Adamson Pump & Drilling,
 2.1                                                                                                                          $4,960.75             $300,000.00
        Inc                                           Describe debtor's property that is subject to a lien
        Creditor's Name                               House on 1.3 acres at:
                                                      27394 Warren Lane
        1320 Smith Ave.                               Wilder, ID 83676
        Nampa, ID 83651
        Creditor's mailing address                    Describe the lien
                                                      Materialman's lien
                                                      Is the creditor an insider or related party?
                                                       No
        Creditor's email address, if known             Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                         No
        July, 2017                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
         No                                           Contingent
         Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative       Disputed
        priority.
        1. Charles Darby
        2. Courtesy Enterprises,
        Inc
        3. Starr Management
        Services
        4. Adamson Pump &
        Drilling, Inc
        5. Liberty Enterprises, LLC

        Adamson Pump & Drilling,
 2.2                                                                                                                          $4,960.75             $300,000.00
        Inc                                           Describe debtor's property that is subject to a lien
        Creditor's Name                               House on 1.36 acres at:
                                                      19872 Wilson Lane
        1320 Smith Ave.                               Wilder, ID 83676
        Nampa, ID 83651
        Creditor's mailing address                    Describe the lien
                                                      Materialman's lien
                                                      Is the creditor an insider or related party?
                                                       No

Official Form 206D                                 Schedule D: Creditors Who Have Claims Secured by Property                                              page 1 of 63
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       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
       July, 2017                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.
       1. MDF & C Investments
       LLC
       2. TLP Investments LLC
       3. TLP Investments LLC
       4. Triple B LLC
       5. Triple B LLC
       6. Adamson Pump &
       Drilling, Inc

       Adamson Pump & Drilling,
 2.3                                                                                                                           $4,960.75      $300,000.00
       Inc                                            Describe debtor's property that is subject to a lien
       Creditor's Name                                House on 1.01 acres at:
                                                      19925 Wilson Lane
       1320 Smith Ave.                                Wilder, ID 83676
       Nampa, ID 83651
       Creditor's mailing address                     Describe the lien
                                                      Materialman's lien
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
       July, 2017                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.
       1. MDF & C Investments
       LLC
       2. TLP Investments LLC
       3. Molly Graham
       4. Walter McCarthy
       5. Courtesy Enterprises,
       Inc
       6. Adamson Pump &
       Drilling, Inc

       Adamson Pump & Drilling,
 2.4                                                                                                                           $4,960.75      $300,000.00
       Inc                                            Describe debtor's property that is subject to a lien
       Creditor's Name                                House on 1 acre lot at:
                                                      19967 Wilson Lane
       1320 Smith Ave.                                Wilder, ID 83676
       Nampa, ID 83651
       Creditor's mailing address                     Describe the lien
                                                      Materialman's lien


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 Debtor       Shiloh Managment Services, Inc.                                                          Case number (if know)    17-01458
              Name

                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
       July, 2017                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.
       1. Triple B LLC
       2. Tom Jones
       3. Kingdom Trust Co.,
       Custodian
       4. Kingdom Trust Co.,
       Custodian
       5. Jake Bishop
       6. Triple B LLC
       7. Susan & Phillip Emerson
       8. Adamson Pump &
       Drilling, Inc

       Adamson Pump & Drilling,
 2.5                                                                                                                           $4,960.75      $300,000.00
       Inc                                            Describe debtor's property that is subject to a lien
       Creditor's Name                                House on 1.27 acres at:
                                                      27438 Warren Lane
       1320 Smith Ave.                                Wilder, ID 83676
       Nampa, ID 83651
       Creditor's mailing address                     Describe the lien
                                                      Materialman's lien
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
       July, 2017                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
          Yes. Specify each creditor,                 Unliquidated
       including this creditor and its relative        Disputed
       priority.
       1. Starr Management
       Services
       2. Triple B LLC
       3. Susan & Phillip Emerson
       4. Kingdom Trust Co.,
       Custodian
       5. Joan Fothergil
       6. Susan & Phillip Emerson
       7. Nick Epper
       8. Adamson Pump &
       Drilling, Inc

       Adamson Pump & Drilling,
 2.6                                                                                                                           $4,960.75      $300,000.00
       Inc                                            Describe debtor's property that is subject to a lien


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 Debtor       Shiloh Managment Services, Inc.                                                          Case number (if know)     17-01458
              Name

       Creditor's Name                                19944 Wilson
                                                      Wilder, ID 83767
       1320 Smith Ave.
       Nampa, ID 83651
       Creditor's mailing address                     Describe the lien
                                                      Materialman's lien
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.
       1. Charles Darby
       2. Walter McCarthy
       3. Nick Epper
       4. Nick Epper
       5. Adamson Pump &
       Drilling, Inc
       6. Liberty Enterprises, LLC

       Adamson Pump & Drilling,
 2.7                                                                                                                            $4,960.75      $300,000.00
       Inc                                            Describe debtor's property that is subject to a lien
       Creditor's Name                                19972 Wilson
                                                      Wilder, ID 83767
       1320 Smith Ave.
       Nampa, ID 83651
       Creditor's mailing address                     Describe the lien
                                                      Materialman's lien
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
       July, 2017                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
          Yes. Specify each creditor,                 Unliquidated
       including this creditor and its relative        Disputed
       priority.
       1. Gayle Allen
       2. Dorene Brumbaugh
       3. Walter McCarthy
       4. CNS Company, LLC
       5. Adamson Pump &
       Drilling, Inc

 2.8   Adeola Adeyemi                                 Describe debtor's property that is subject to a lien                     $19,000.00       $35,000.00
       Creditor's Name                                Bare land at:
       10096 W. Fairview Ave                          27580 Wheat Ridge
       Ste. 160                                       Wilder, ID 83687
       Boise, ID 83704
       Creditor's mailing address                     Describe the lien

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              Name

                                                      Material Lien
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.
       1. DSA & Associates
       2. Geoffrey & Hicran Maina
       3. Adeola Adeyemi

 2.9   Beldon LLC                                     Describe debtor's property that is subject to a lien                     $208,000.00      $100,000.00
       Creditor's Name                                Bare land w/foundation and permits at:
                                                      12197 Gilgal
       904 E Maple Street                             Middleton, ID 83644
       Caldwell, ID 83605
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.
       1. Janelle Nelson
       2. Beldon LLC
       3. Hoggity Hill LLC

 2.1
 0     Bill Brinkley                                  Describe debtor's property that is subject to a lien                      $20,000.00      $250,000.00
       Creditor's Name                                Bare land at:
                                                      17182 Sand Hallow
       287 S Jakes Landing Way                        Caldwell, ID 83607
       Star, ID 83669
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply

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 Debtor       Shiloh Managment Services, Inc.                                                          Case number (if know)     17-01458
              Name

        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.
       1. Stock Boise, LLC
       2. Christine & Brad
       Williamson
       3. Bill Brinkley
       4. Janelle Nelson
       5. Stock Boise, LLC
       6. Bill Brinkley
       7. Liberty Enterprises, LLC

 2.1
 1     Bill Brinkley                                  Describe debtor's property that is subject to a lien                     $50,000.00      $250,000.00
       Creditor's Name                                Bare land at:
                                                      17182 Sand Hallow
       287 S Jakes Landing Way                        Caldwell, ID 83607
       Star, ID 83669
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.
       Specified on line 2.10

 2.1
 2     Bill Brinkley                                  Describe debtor's property that is subject to a lien                     $50,000.00      $170,000.00
       Creditor's Name                                134 Delaware
       287 S Jakes Landing Way
       Star, ID 83669
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply




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 Debtor       Shiloh Managment Services, Inc.                                                          Case number (if know)      17-01458
              Name

        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.
       1. Bill Brinkley
       2. Molly Graham
       3. Walter McCarthy
       4. Ideal Properties

 2.1
 3     Brendan Scott                                  Describe debtor's property that is subject to a lien                      $80,000.00       $30,000.00
       Creditor's Name                                Base land at:
                                                      3 Centerpoint Rd
       4900 N. Rd. H                                  Caldwell, ID 83607
       Vale, OR 97918
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.1
 4     Bridger Street Apartments                      Describe debtor's property that is subject to a lien                     $370,000.00      $500,000.00
       Creditor's Name                                6268 Lake Hazel
                                                      Nampa, ID 83646

                                                      Debtor claims an equitable interest in
       8737 Craydon Drive                             property, does not have legal title.
       Boise, ID 83704-3312
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
       July, 2012                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.1
 5     Charles Darby                                  Describe debtor's property that is subject to a lien                     $190,000.00      $300,000.00


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 Debtor       Shiloh Managment Services, Inc.                                                          Case number (if know)      17-01458
              Name

       Creditor's Name                                House on 1.3 acres at:
                                                      27394 Warren Lane
       2056 W Grant Teton Drive                       Wilder, ID 83676
       Meridian, ID 83646
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
          Yes. Specify each creditor,                 Unliquidated
       including this creditor and its relative        Disputed
       priority.
       Specified on line 2.1

 2.1
 6     Charles Darby                                  Describe debtor's property that is subject to a lien                     $190,000.00      $300,000.00
       Creditor's Name                                19944 Wilson
                                                      Wilder, ID 83767
       2056 W Grant Teton Drive
       Meridian, ID 83646
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.
       Specified on line 2.6

 2.1   Christine & Brad
 7     Williamson                                     Describe debtor's property that is subject to a lien                      $35,000.00      $250,000.00
       Creditor's Name                                Bare land at:
                                                      17182 Sand Hallow
       10126 Bayard Court                             Caldwell, ID 83607
       Orlando, FL 32836
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
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       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.
       Specified on line 2.10

 2.1
 8     CNS Company, LLC                               Describe debtor's property that is subject to a lien                     $47,500.00       $40,000.00
       Creditor's Name                                Bare land at:
                                                      20194 Silver Spur
       13176 Oak Crest Driver                         Wilder, ID 83687
       Yucaipa, CA 92399
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
          Yes. Specify each creditor,                 Unliquidated
       including this creditor and its relative        Disputed
       priority.
       1. CNS Company, LLC
       2. Triple B LLC
       3. Don Thornton

 2.1
 9     CNS Company, LLC                               Describe debtor's property that is subject to a lien                     $47,500.00       $40,000.00
       Creditor's Name                                Bare land at:
                                                      20150 Silver Spur
       13176 Oak Crest Driver                         Wilder, ID 83687
       Yucaipa, CA 92399
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.
       1. CNS Company, LLC
       2. Triple B LLC
       3. Innovative Technologies,
       Inc
       4. Don Thornton



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 2.2
 0     CNS Company, LLC                               Describe debtor's property that is subject to a lien                     $54,000.00       $40,000.00
       Creditor's Name                                Bare land at:
                                                      20128 Silver Spur
       13176 Oak Crest Driver                         Wilder, ID 83687
       Yucaipa, CA 92399
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
          Yes. Specify each creditor,                 Unliquidated
       including this creditor and its relative        Disputed
       priority.
       1. Triple B LLC
       2. CNS Company, LLC
       3. Don Thornton

 2.2
 1     CNS Company, LLC                               Describe debtor's property that is subject to a lien                     $40,000.00       $40,000.00
       Creditor's Name                                Bare land at:
                                                      20106 Silver Spur
       13176 Oak Crest Driver                         Wilder, ID 83687
       Yucaipa, CA 92399
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.
       1. CNS Company, LLC
       2. Triple B LLC
       3. Don Thornton

 2.2
 2     CNS Company, LLC                               Describe debtor's property that is subject to a lien                     $40,000.00       $35,000.00
       Creditor's Name                                Bare land at:
                                                      20154 Ebenezer Lane
       13176 Oak Crest Driver                         Caldwell, ID 83607
       Yucaipa, CA 92399
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                       No
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       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
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       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.
       1. Triple B LLC
       2. CNS Company, LLC

 2.2
 3     CNS Company, LLC                               Describe debtor's property that is subject to a lien                     $35,000.00      $300,000.00
       Creditor's Name                                19972 Wilson
                                                      Wilder, ID 83767
       13176 Oak Crest Driver
       Yucaipa, CA 92399
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
          Yes. Specify each creditor,                 Unliquidated
       including this creditor and its relative        Disputed
       priority.
       Specified on line 2.7

 2.2
 4     CNS Company, LLC                               Describe debtor's property that is subject to a lien                     $62,000.00      $130,000.00
       Creditor's Name                                904 7th Ave. North
                                                      Nampa, ID 83687
       13176 Oak Crest Driver
       Yucaipa, CA 92399
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
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       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply




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 Debtor       Shiloh Managment Services, Inc.                                                          Case number (if know)     17-01458
              Name

        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.
       1. Stock Boise, LLC
       2. CNS Company, LLC
       3. David F. Hills

 2.2
 5     Connie Wagner                                  Describe debtor's property that is subject to a lien                     $20,000.00       $40,000.00
       Creditor's Name                                Bare land at:
                                                      20040 Silver Spur
       3040 N Willow Side Avenue                      Wilder, ID 83687
       Meridian, ID 83646
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.
       1. Rhonda Crist
       2. Connie Wagner
       3. Self Directed IRA
       Services
       4. Preston Roth IRA

 2.2
 6     Courtesy Enterprises, Inc                      Describe debtor's property that is subject to a lien                     $45,000.00       $45,000.00
       Creditor's Name                                Bare land at:
                                                      Fargo Road
       4817 Southside Blvd                            Wilder, ID 83687
       Nampa, ID 83686
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.
       1. Janelle Nelson
       2. Courtesy Enterprises,
       Inc
       3. Daniel Becarra

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 Debtor       Shiloh Managment Services, Inc.                                                          Case number (if know)     17-01458
              Name



 2.2
 7     Courtesy Enterprises, Inc                      Describe debtor's property that is subject to a lien                     $23,000.00      $300,000.00
       Creditor's Name                                House on 1.01 acres at:
                                                      19925 Wilson Lane
       4817 Southside Blvd                            Wilder, ID 83676
       Nampa, ID 83686
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.
       Specified on line 2.3

 2.2
 8     Courtesy Enterprises, Inc                      Describe debtor's property that is subject to a lien                     $45,000.00      $300,000.00
       Creditor's Name                                House on 1.3 acres at:
                                                      27394 Warren Lane
       4817 Southside Blvd                            Wilder, ID 83676
       Nampa, ID 83686
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
          Yes. Specify each creditor,                 Unliquidated
       including this creditor and its relative        Disputed
       priority.
       Specified on line 2.1

 2.2
 9     Daniel Becarra                                 Describe debtor's property that is subject to a lien                     $80,000.00       $45,000.00
       Creditor's Name                                Bare land at:
                                                      Fargo Road
       4817 Southside Blvd                            Wilder, ID 83687
       Nampa, ID 83686
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                 page 13 of 63
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 Debtor       Shiloh Managment Services, Inc.                                                          Case number (if know)      17-01458
              Name

                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.
       Specified on line 2.26

 2.3
 0     David F. Hills                                 Describe debtor's property that is subject to a lien                     $124,000.00      $130,000.00
       Creditor's Name                                904 7th Ave. North
                                                      Nampa, ID 83687
       7870 S. Powerline Rd.
       Nampa, ID 83686
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
          Yes. Specify each creditor,                 Unliquidated
       including this creditor and its relative        Disputed
       priority.
       Specified on line 2.24

 2.3
 1     Don Thornton                                   Describe debtor's property that is subject to a lien                      $40,000.00       $40,000.00
       Creditor's Name                                Bare land at:
                                                      20157 Silver Spur
       PO Box 1495                                    Wilder, ID 83687
       Nampa, ID 83653
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.
       1. Triple B LLC
       2. Don Thornton

 2.3
 2     Don Thornton                                   Describe debtor's property that is subject to a lien                      $40,000.00       $40,000.00


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 Debtor       Shiloh Managment Services, Inc.                                                          Case number (if know)     17-01458
              Name

       Creditor's Name                                Bare land at:
                                                      20125 Silver Spur
       PO Box 1495                                    Wilder, ID 83687
       Nampa, ID 83653
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
          Yes. Specify each creditor,                 Unliquidated
       including this creditor and its relative        Disputed
       priority.
       1. DSA & Associates
       2. Jeff & Tracey Petrillo
       3. Don Thornton

 2.3
 3     Don Thornton                                   Describe debtor's property that is subject to a lien                     $40,000.00       $40,000.00
       Creditor's Name                                Bare land at:
                                                      20093 Silver Spur
       PO Box 1495                                    Wilder, ID 83687
       Nampa, ID 83653
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.
       1. Lucille Borses Family
       Trust
       2. Don Thornton

 2.3
 4     Don Thornton                                   Describe debtor's property that is subject to a lien                     $40,000.00       $40,000.00
       Creditor's Name                                Bare land at:
                                                      20194 Silver Spur
       PO Box 1495                                    Wilder, ID 83687
       Nampa, ID 83653
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?


Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                 page 15 of 63
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 Debtor       Shiloh Managment Services, Inc.                                                          Case number (if know)     17-01458
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       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.
       Specified on line 2.18

 2.3
 5     Don Thornton                                   Describe debtor's property that is subject to a lien                     $40,000.00       $40,000.00
       Creditor's Name                                Bare land at:
                                                      20172 Silver Spur
       PO Box 1495                                    Wilder, ID 83687
       Nampa, ID 83653
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
          Yes. Specify each creditor,                 Unliquidated
       including this creditor and its relative        Disputed
       priority.
       1. Lucille Borses Family
       Trust
       2. Don Thornton

 2.3
 6     Don Thornton                                   Describe debtor's property that is subject to a lien                     $40,000.00       $40,000.00
       Creditor's Name                                Bare land at:
                                                      20150 Silver Spur
       PO Box 1495                                    Wilder, ID 83687
       Nampa, ID 83653
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.
       Specified on line 2.19


Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                 page 16 of 63
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 Debtor       Shiloh Managment Services, Inc.                                                          Case number (if know)     17-01458
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 2.3
 7     Don Thornton                                   Describe debtor's property that is subject to a lien                     $40,000.00       $40,000.00
       Creditor's Name                                Bare land at:
                                                      20128 Silver Spur
       PO Box 1495                                    Wilder, ID 83687
       Nampa, ID 83653
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
          Yes. Specify each creditor,                 Unliquidated
       including this creditor and its relative        Disputed
       priority.
       Specified on line 2.20

 2.3
 8     Don Thornton                                   Describe debtor's property that is subject to a lien                     $40,000.00       $40,000.00
       Creditor's Name                                Bare land at:
                                                      20106 Silver Spur
       PO Box 1495                                    Wilder, ID 83687
       Nampa, ID 83653
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.
       Specified on line 2.21

 2.3
 9     Don Thornton                                   Describe debtor's property that is subject to a lien                     $40,000.00       $40,000.00
       Creditor's Name                                Bare land at:
                                                      20084 Silver Spur
       PO Box 1495                                    Wilder, ID 83687
       Nampa, ID 83653
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                 page 17 of 63
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 Debtor       Shiloh Managment Services, Inc.                                                          Case number (if know)      17-01458
              Name

       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.
       1. Innovative Technologies,
       Inc
       2. Don Thornton

 2.4
 0     Dorene Brumbaugh                               Describe debtor's property that is subject to a lien                     $100,000.00      $300,000.00
       Creditor's Name                                19972 Wilson
                                                      Wilder, ID 83767
       4511 Piute Pl
       Caldwell, ID 83607
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.
       Specified on line 2.7

 2.4
 1     DSA & Associates                               Describe debtor's property that is subject to a lien                     $100,000.00       $40,000.00
       Creditor's Name                                Bare land at:
                                                      20125 Silver Spur
       2463 Wythe Place                               Wilder, ID 83687
       Yorkville, IL 60560
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.
       Specified on line 2.32

 2.4
 2     DSA & Associates                               Describe debtor's property that is subject to a lien                     $200,000.00       $35,000.00


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 Debtor       Shiloh Managment Services, Inc.                                                          Case number (if know)      17-01458
              Name

       Creditor's Name                                Bare land at:
                                                      27580 Wheat Ridge
       2463 Wythe Place                               Wilder, ID 83687
       Yorkville, IL 60560
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
          Yes. Specify each creditor,                 Unliquidated
       including this creditor and its relative        Disputed
       priority.
       Specified on line 2.8

 2.4
 3     DSA & Associates                               Describe debtor's property that is subject to a lien                     $145,000.00       $35,000.00
       Creditor's Name                                Bare land at:
                                                      27620 Petolla Road
       2463 Wythe Place                               Wilder, ID 83687
       Yorkville, IL 60560
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.
       1. DSA & Associates
       2. Preston Roth IRA

 2.4
 4     DSA & Associates                               Describe debtor's property that is subject to a lien                     $100,000.00       $60,000.00
       Creditor's Name                                Bare land at:
                                                      27790 Ustick
       2463 Wythe Place                               Caldwell, ID 83607
       Yorkville, IL 60560
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

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 Debtor       Shiloh Managment Services, Inc.                                                          Case number (if know)      17-01458
              Name


       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
          Yes. Specify each creditor,                 Unliquidated
       including this creditor and its relative        Disputed
       priority.
       1. DSA & Associates
       2. Earthwise Enterprises
       LLC
       3. Quest IRA
       4. Janelle Nelson

 2.4
 5     Earthwise Enterprises LLC                      Describe debtor's property that is subject to a lien                      $70,000.00       $60,000.00
       Creditor's Name                                Bare land at:
                                                      27790 Ustick
       PO Box 2491                                    Caldwell, ID 83607
       Ramona, CA 92065-0942
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.
       Specified on line 2.44

 2.4
 6     Flash Investments, LLC                         Describe debtor's property that is subject to a lien                     $180,000.00      $300,000.00
       Creditor's Name                                25978 Chandler
                                                      Wilder, ID 83767
       PO Box 1150
       Fruitland, ID 83619
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.
       1. Flash Investments, LLC
       2. Starr Management
       Services
       3. Liberty Enterprises, LLC

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 Debtor       Shiloh Managment Services, Inc.                                                          Case number (if know)      17-01458
              Name



 2.4
 7     Flash Investments, LLC                         Describe debtor's property that is subject to a lien                     $190,000.00       $70,000.00
       Creditor's Name                                Lot 7 Golden Hills
       PO Box 1150
       Fruitland, ID 83619
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
          Yes. Specify each creditor,                 Unliquidated
       including this creditor and its relative        Disputed
       priority.
       1. Flash Investments, LLC
       2. Jackie Daza

 2.4
 8     Gayle Allen                                    Describe debtor's property that is subject to a lien                     $100,000.00      $300,000.00
       Creditor's Name                                19972 Wilson
                                                      Wilder, ID 83767
       2078 S. Orchard
       Boise, ID 83705
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.
       Specified on line 2.7

 2.4
 9     Geoffrey & Hicran Maina                        Describe debtor's property that is subject to a lien                      $50,000.00       $35,000.00
       Creditor's Name                                Bare land at:
                                                      27580 Wheat Ridge
       709 E Clay Avenue                              Wilder, ID 83687
       Brandon, FL 33510
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?


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       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.
       Specified on line 2.8

 2.5
 0     Hoggity Hill LLC                               Describe debtor's property that is subject to a lien                     $113,000.00       $40,000.00
       Creditor's Name                                Bare land at:
                                                      20018 Silver Spur
       2213 Blackspur Way                             Wilder, ID 83687
       Meridian, ID 83642
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
          Yes. Specify each creditor,                 Unliquidated
       including this creditor and its relative        Disputed
       priority.
       1. Lucille Borses Family
       Trust
       2. Hoggity Hill LLC
       3. Lucille Borses Family
       Trust
       4. Liberty Enterprises, LLC

 2.5
 1     Hoggity Hill LLC                               Describe debtor's property that is subject to a lien                           $0.00       $30,000.00
       Creditor's Name                                Bare land at:
                                                      Bellomy Lane
       2213 Blackspur Way                             Wilder, ID 83687
       Meridian, ID 83642
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust (paid, but lien not yet
                                                      reconveyed)
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply




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        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.
       1. Hoggity Hill LLC
       2. Triple B LLC
       3. Starr Management
       Services
       4. Innovative Technologies,
       Inc

 2.5
 2     Hoggity Hill LLC                               Describe debtor's property that is subject to a lien                     $208,000.00      $100,000.00
       Creditor's Name                                Bare land w/foundation and permits at:
                                                      12197 Gilgal
       2213 Blackspur Way                             Middleton, ID 83644
       Meridian, ID 83642
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.
       Specified on line 2.9

 2.5
 3     Hoggity Hill LLC                               Describe debtor's property that is subject to a lien                     $220,000.00       $30,000.00
       Creditor's Name                                Bare land at:
                                                      4 Centerpoint Road
       2213 Blackspur Way                             Caldwell, ID 83607
       Meridian, ID 83642
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.5
 4     Ideal Properties                               Describe debtor's property that is subject to a lien                      $60,000.00      $170,000.00


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              Name

       Creditor's Name                                134 Delaware
       5010 Cassia St.
       Caldwell, ID 83605
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.
       Specified on line 2.12

 2.5
 5     Inland Capital LLC                             Describe debtor's property that is subject to a lien                     $178,000.00      $200,000.00
       Creditor's Name                                3807 Wheeler
       120 N Stevens Street                           Nampa, ID 83686
       Suite 300
       Spokane, WA 99201
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.
       1. Inland Capital LLC
       2. Quality Properties, LLP

 2.5
 6     Inland Capital LLC                             Describe debtor's property that is subject to a lien                      $78,000.00      $250,000.00
       Creditor's Name                                16653 Garnett
       120 N Stevens Street                           Wilder, ID 83767
       Suite 300
       Spokane, WA 99201
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number


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       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
          Yes. Specify each creditor,                 Unliquidated
       including this creditor and its relative        Disputed
       priority.
       1. Inland Capital LLC
       2. Kingdom Trust Co.,
       Custodian
       3. Kingdom Trust Co.,
       Custodian
       4. Philip Sorenson
       5. Triple B LLC

 2.5   Innovative Technologies,
 7     Inc                                            Describe debtor's property that is subject to a lien                     $47,000.00       $40,000.00
       Creditor's Name                                Bare land at:
                                                      20150 Silver Spur
       7870 S. Powerline                              Wilder, ID 83687
       Nampa, ID 83686
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
          Yes. Specify each creditor,                 Unliquidated
       including this creditor and its relative        Disputed
       priority.
       Specified on line 2.19

 2.5   Innovative Technologies,
 8     Inc                                            Describe debtor's property that is subject to a lien                     $75,000.00       $40,000.00
       Creditor's Name                                Bare land at:
                                                      20084 Silver Spur
       7870 S. Powerline                              Wilder, ID 83687
       Nampa, ID 83686
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.
       Specified on line 2.39


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 2.5   Innovative Technologies,
 9     Inc                                            Describe debtor's property that is subject to a lien                     $75,000.00       $30,000.00
       Creditor's Name                                Bare land at:
                                                      Bellomy Lane
       7870 S. Powerline                              Wilder, ID 83687
       Nampa, ID 83686
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.
       Specified on line 2.51

 2.6
 0     Jackie Daza                                    Describe debtor's property that is subject to a lien                     $70,000.00       $70,000.00
       Creditor's Name                                Lot 7 Golden Hills
       8 Mikro
       Laguna Niguel, CA 92677
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
          Yes. Specify each creditor,                 Unliquidated
       including this creditor and its relative        Disputed
       priority.
       Specified on line 2.47

 2.6
 1     Jake Bishop                                    Describe debtor's property that is subject to a lien                     $20,000.00      $300,000.00
       Creditor's Name                                House on 1 acre lot at:
                                                      19967 Wilson Lane
       6500 Robertson                                 Wilder, ID 83676
       Boise, ID 83709
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No

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                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
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       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.
       Specified on line 2.4

 2.6
 2     Janelle Nelson                                 Describe debtor's property that is subject to a lien                     $200,000.00       $45,000.00
       Creditor's Name                                Bare land at:
                                                      Fargo Road
       11293 Greenhurst Road                          Wilder, ID 83687
       Nampa, ID 83686
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.
       Specified on line 2.26

 2.6
 3     Janelle Nelson                                 Describe debtor's property that is subject to a lien                     $181,314.00      $250,000.00
       Creditor's Name                                Bare land at:
                                                      17182 Sand Hallow
       11293 Greenhurst Road                          Caldwell, ID 83607
       Nampa, ID 83686
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.
       Specified on line 2.10

 2.6
 4     Janelle Nelson                                 Describe debtor's property that is subject to a lien                     $200,000.00       $60,000.00



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       Creditor's Name                                Bare land at:
                                                      27790 Ustick
       11293 Greenhurst Road                          Caldwell, ID 83607
       Nampa, ID 83686
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
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       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
          Yes. Specify each creditor,                 Unliquidated
       including this creditor and its relative        Disputed
       priority.
       Specified on line 2.44

 2.6
 5     Janelle Nelson                                 Describe debtor's property that is subject to a lien                     $160,000.00      $100,000.00
       Creditor's Name                                Bare land w/foundation and permits at:
                                                      12197 Gilgal
       11293 Greenhurst Road                          Middleton, ID 83644
       Nampa, ID 83686
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
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       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.
       Specified on line 2.9

 2.6
 6     Jeff & Tracey Petrillo                         Describe debtor's property that is subject to a lien                     $100,000.00       $40,000.00
       Creditor's Name                                Bare land at:
                                                      20125 Silver Spur
       1003 11th Avenue South                         Wilder, ID 83687
       Nampa, ID 83651
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
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       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.
       Specified on line 2.32

 2.6
 7     Joan Fothergil                                 Describe debtor's property that is subject to a lien                     $60,500.00      $300,000.00
       Creditor's Name                                House on 1.27 acres at:
                                                      27438 Warren Lane
       6007 Chestnut Drive                            Wilder, ID 83676
       Boise, ID 83707
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
          Yes. Specify each creditor,                 Unliquidated
       including this creditor and its relative        Disputed
       priority.
       Specified on line 2.5

 2.6
 8     Joe Thompson                                   Describe debtor's property that is subject to a lien                     $20,000.00      $180,000.00
       Creditor's Name                                125 1st St. North, Nampa, ID 83651
       10120 Edna St.
       Boise, ID 83709
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
       December, 2016                                  Yes. Fill out Schedule H: Codebtors (Official Form 206H)
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       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.
       1. Mountain West Bank IRA
       2. Joe Thompson
       3. Stock Boise, LLC

 2.6
 9     Judyth Roberts                                 Describe debtor's property that is subject to a lien                     $80,000.00       $70,000.00




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 Debtor       Shiloh Managment Services, Inc.                                                          Case number (if know)     17-01458
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       Creditor's Name                                Lot 2 Golden Hills
       29299 W. FIrehawk Dr.
       Buckeye, AZ 85396
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.
       1. Judyth Roberts
       2. Stock Boise, LLC

 2.7
 0     Justin Wilkerson                               Describe debtor's property that is subject to a lien                     $80,000.00       $70,000.00
       Creditor's Name                                Lot 14 Golden Hills
       110 Parkway Dr.
       Boise, ID 83706
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.
       1. Stock Boise, LLC
       2. Justin Wilkerson
       3. Sag Mire Wie, LLC
       4. Liberty Enterprises, LLC

 2.7   Kingdom Trust Co.,
 1     Custodian                                      Describe debtor's property that is subject to a lien                     $60,000.00      $300,000.00
       Creditor's Name                                House on 1 acre lot at:
       FBO Jere Robertson IRA                         19967 Wilson Lane
       PO Box 870                                     Wilder, ID 83676
       Murray, KY 42071
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?


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       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.
       Specified on line 2.4

 2.7   Kingdom Trust Co.,
 2     Custodian                                      Describe debtor's property that is subject to a lien                      $60,000.00      $300,000.00
       Creditor's Name                                House on 1 acre lot at:
       FBO Sally J Robertson IRA                      19967 Wilson Lane
       PO Box 870                                     Wilder, ID 83676
       Murray, KY 42071
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
          Yes. Specify each creditor,                 Unliquidated
       including this creditor and its relative        Disputed
       priority.
       Specified on line 2.4

 2.7   Kingdom Trust Co.,
 3     Custodian                                      Describe debtor's property that is subject to a lien                      $62,834.00      $300,000.00
       Creditor's Name                                House on 1.27 acres at:
       FBO Jere Robertson IRA                         27438 Warren Lane
       PO Box 870                                     Wilder, ID 83676
       Murray, KY 42071
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.
       Specified on line 2.5

 2.7   Kingdom Trust Co.,
 4     Custodian                                      Describe debtor's property that is subject to a lien                     $100,000.00       $80,000.00

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       Creditor's Name                                1661 6th Street South
       FBO Collee Reidenbaugh                         Nampa, ID 83651
       IRA
       PO Box 870
       Murray, KY 42071
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.
       1. Melvin Copple
       2. Kingdom Trust Co.,
       Custodian

 2.7   Kingdom Trust Co.,
 5     Custodian                                      Describe debtor's property that is subject to a lien                     $60,000.00      $250,000.00
       Creditor's Name                                16653 Garnett
       FBO Frank Youngstrom                           Wilder, ID 83767
       IRA
       PO Box 870
       Murray, KY 42071
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
          Yes. Specify each creditor,                 Unliquidated
       including this creditor and its relative        Disputed
       priority.
       Specified on line 2.56

 2.7   Kingdom Trust Co.,
 6     Custodian                                      Describe debtor's property that is subject to a lien                     $60,000.00      $250,000.00
       Creditor's Name                                16653 Garnett
       FBO Frank Youngstrom                           Wilder, ID 83767
       IRA
       PO Box 870
       Murray, KY 42071
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
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                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
          Yes. Specify each creditor,                 Unliquidated
       including this creditor and its relative        Disputed
       priority.
       Specified on line 2.56

 2.7
 7     Liberty Enterprises, LLC                       Describe debtor's property that is subject to a lien                     $37,582.47      $300,000.00
       Creditor's Name                                House on 1.3 acres at:
       Walt Holton, Manager                           27394 Warren Lane
       P.O. Box                                       Wilder, ID 83676
       Marsing, ID 83639
       Creditor's mailing address                     Describe the lien
                                                      Materialman's lien
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
       August, 2017                                    Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.
       Specified on line 2.1

 2.7
 8     Liberty Enterprises, LLC                       Describe debtor's property that is subject to a lien                     $25,316.50       $40,000.00
       Creditor's Name                                Bare land at:
       Walt Holton, Manager                           20018 Silver Spur
       P.O. Box                                       Wilder, ID 83687
       Marsing, ID 83639
       Creditor's mailing address                     Describe the lien
                                                      Material Lien
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
       10/9/2017                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.
       Specified on line 2.50




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 2.7
 9     Liberty Enterprises, LLC                       Describe debtor's property that is subject to a lien                      $7,725.52      $300,000.00
       Creditor's Name                                25978 Chandler
       Walt Holton, Manager                           Wilder, ID 83767
       P.O. Box
       Marsing, ID 83639
       Creditor's mailing address                     Describe the lien
                                                      Material Lien
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
       10/9/2017                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
          Yes. Specify each creditor,                 Unliquidated
       including this creditor and its relative        Disputed
       priority.
       Specified on line 2.46

 2.8
 0     Liberty Enterprises, LLC                       Describe debtor's property that is subject to a lien                     $19,324.70      $250,000.00
       Creditor's Name                                Bare land at:
       Walt Holton, Manager                           17182 Sand Hallow
       P.O. Box                                       Caldwell, ID 83607
       Marsing, ID 83639
       Creditor's mailing address                     Describe the lien
                                                      Material Lien
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
       10/10/2017                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.
       Specified on line 2.10

 2.8
 1     Liberty Enterprises, LLC                       Describe debtor's property that is subject to a lien                     $10,353.66      $120,000.00
       Creditor's Name                                Bare land at:
       Walt Holton, Manager                           12191 Gilgal a/k/a 26499 Cemetary Road
       P.O. Box                                       Middleton, ID 83644
       Marsing, ID 83639
       Creditor's mailing address                     Describe the lien
                                                      Material Lien
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
       10/9/2017                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
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       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.
       1. Self Directed IRA
       Services
       2. Triple B LLC
       3. Liberty Enterprises, LLC

 2.8
 2     Liberty Enterprises, LLC                       Describe debtor's property that is subject to a lien                      $9,560.00      $300,000.00
       Creditor's Name                                19944 Wilson
       Walt Holton, Manager                           Wilder, ID 83767
       P.O. Box
       Marsing, ID 83639
       Creditor's mailing address                     Describe the lien
                                                      Materialman's lien
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
       10/5/2017                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.
       Specified on line 2.6

 2.8
 3     Liberty Enterprises, LLC                       Describe debtor's property that is subject to a lien                     $38,027.83       $70,000.00
       Creditor's Name                                Lot 14 Golden Hills
       Walt Holton, Manager
       P.O. Box
       Marsing, ID 83639
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.
       Specified on line 2.70

 2.8
 4     Lucille Borses Family Trust                    Describe debtor's property that is subject to a lien                     $75,000.00       $40,000.00

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       Creditor's Name                                Bare land at:
                                                      20189 Silver Spur
       1732 W. Clair Dr                               Wilder, Idaho 83687
       Meridian, ID 83646
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
          Yes. Specify each creditor,                 Unliquidated
       including this creditor and its relative        Disputed
       priority.
       1. Lucille Borses Family
       Trust
       2. Triple B LLC
       3. Nate Bishop

 2.8
 5     Lucille Borses Family Trust                    Describe debtor's property that is subject to a lien                     $50,000.00       $40,000.00
       Creditor's Name                                Bare land at:
                                                      20093 Silver Spur
       1732 W. Clair Dr                               Wilder, ID 83687
       Meridian, ID 83646
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
          Yes. Specify each creditor,                 Unliquidated
       including this creditor and its relative        Disputed
       priority.
       Specified on line 2.33

 2.8
 6     Lucille Borses Family Trust                    Describe debtor's property that is subject to a lien                     $50,000.00       $40,000.00
       Creditor's Name                                Bare land at:
                                                      20172 Silver Spur
       1732 W. Clair Dr                               Wilder, ID 83687
       Meridian, ID 83646
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
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                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
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       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.
       Specified on line 2.35

 2.8
 7     Lucille Borses Family Trust                    Describe debtor's property that is subject to a lien                      $75,000.00       $40,000.00
       Creditor's Name                                Bare land at:
                                                      20018 Silver Spur
       1732 W. Clair Dr                               Wilder, ID 83687
       Meridian, ID 83646
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.
       Specified on line 2.50

 2.8
 8     Lucille Borses Family Trust                    Describe debtor's property that is subject to a lien                      $75,000.00       $40,000.00
       Creditor's Name                                Bare land at:
                                                      20018 Silver Spur
       1732 W. Clair Dr                               Wilder, ID 83687
       Meridian, ID 83646
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.
       Specified on line 2.50

 2.8
 9     MDF & C Investments LLC                        Describe debtor's property that is subject to a lien                     $115,000.00      $300,000.00



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       Creditor's Name                                House on 1.36 acres at:
                                                      19872 Wilson Lane
       8820 S Stewart Road                            Wilder, ID 83676
       Meridian, ID 83642
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
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       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
          Yes. Specify each creditor,                 Unliquidated
       including this creditor and its relative        Disputed
       priority.
       Specified on line 2.2

 2.9
 0     MDF & C Investments LLC                        Describe debtor's property that is subject to a lien                     $115,000.00      $300,000.00
       Creditor's Name                                House on 1.01 acres at:
                                                      19925 Wilson Lane
       8820 S Stewart Road                            Wilder, ID 83676
       Meridian, ID 83642
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
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       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.
       Specified on line 2.3

 2.9
 1     Melvin Copple                                  Describe debtor's property that is subject to a lien                     $115,000.00       $80,000.00
       Creditor's Name                                1661 6th Street South
                                                      Nampa, ID 83651
       4551 W. Saddle Ridge Dr
       Nampa, ID 83687
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number



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 Debtor       Shiloh Managment Services, Inc.                                                          Case number (if know)     17-01458
              Name

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.
       Specified on line 2.74

 2.9
 2     Molly Graham                                   Describe debtor's property that is subject to a lien                     $30,000.00      $300,000.00
       Creditor's Name                                House on 1.01 acres at:
                                                      19925 Wilson Lane
       509 E 51st Street                              Wilder, ID 83676
       Garden City, ID 83714
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
          Yes. Specify each creditor,                 Unliquidated
       including this creditor and its relative        Disputed
       priority.
       Specified on line 2.3

 2.9
 3     Molly Graham                                   Describe debtor's property that is subject to a lien                     $45,000.00      $170,000.00
       Creditor's Name                                134 Delaware
       509 E 51st Street
       Garden City, ID 83714
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.
       Specified on line 2.12

 2.9
 4     Mountain West Bank IRA                         Describe debtor's property that is subject to a lien                     $90,000.00      $320,000.00
       Creditor's Name                                House and 5 acres at:
       FBO Chet Pipkin                                9212 Fish Pond
       10096 W Fairview Avenue                        Melba, ID 83641
       #160
       Boise, ID 83704
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       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.
       1. Mountain West Bank IRA
       2. Stock Boise, LLC
       3. Triple B LLC
       4. Stock Boise, LLC
       5. Starr Management
       Services

 2.9
 5     Mountain West Bank IRA                         Describe debtor's property that is subject to a lien                     $100,000.00      $180,000.00
       Creditor's Name                                125 1st St. North, Nampa, ID 83651
       FBO Chet Pipkin
       10096 W Fairview Avenue
       #160
       Boise, ID 83704
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
       November, 2015                                  Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.
       Specified on line 2.68

 2.9
 6     Nate Bishop                                    Describe debtor's property that is subject to a lien                      $50,000.00       $40,000.00
       Creditor's Name                                Bare land at:
                                                      20189 Silver Spur
       3710 Kootenai                                  Wilder, Idaho 83687
       Boise, ID 83705
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
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       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.
       Specified on line 2.84

 2.9
 7     Nick Epper                                     Describe debtor's property that is subject to a lien                     $25,000.00      $300,000.00
       Creditor's Name                                House on 1.27 acres at:
                                                      27438 Warren Lane
       403 Pony Express Blvd                          Wilder, ID 83676
       San Dimas, CA 91773
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.
       Specified on line 2.5

 2.9
 8     Nick Epper                                     Describe debtor's property that is subject to a lien                     $25,000.00      $300,000.00
       Creditor's Name                                19944 Wilson
                                                      Wilder, ID 83767
       403 Pony Express Blvd
       San Dimas, CA 91773
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.
       Specified on line 2.6

 2.9
 9     Nick Epper                                     Describe debtor's property that is subject to a lien                     $50,000.00      $300,000.00




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       Creditor's Name                                19944 Wilson
                                                      Wilder, ID 83767
       403 Pony Express Blvd
       San Dimas, CA 91773
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.
       Specified on line 2.6

 2.1
 00    Philip Sorenson                                Describe debtor's property that is subject to a lien                      $34,175.00      $250,000.00
       Creditor's Name                                16653 Garnett
                                                      Wilder, ID 83767
       3024 Bristol Ave.
       Caldwell, ID 83605
       Creditor's mailing address                     Describe the lien
                                                      Materialman lien
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.
       Specified on line 2.56

 2.1
 01    Preston Roth IRA                               Describe debtor's property that is subject to a lien                     $210,000.00       $40,000.00
       Creditor's Name                                Bare land at:
                                                      20040 Silver Spur
       8960 Craydon Drive                             Wilder, ID 83687
       Boise, ID 83704
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number



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              Name

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.
       Specified on line 2.25

 2.1
 02    Preston Roth IRA                               Describe debtor's property that is subject to a lien                     $246,000.00       $35,000.00
       Creditor's Name                                Bare land at:
       Cynthia Preston                                27620 Petolla Road
       8960 Craydon Drive                             Wilder, ID 83687
       Boise, ID 83704
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
          Yes. Specify each creditor,                 Unliquidated
       including this creditor and its relative        Disputed
       priority.
       Specified on line 2.43

 2.1
 03    Quality Properties, LLP                        Describe debtor's property that is subject to a lien                     $240,000.00      $200,000.00
       Creditor's Name                                3807 Wheeler
                                                      Nampa, ID 83686
       7870 S. Powerline
       Nampa, ID 83686
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.
       Specified on line 2.55

 2.1
 04    Quest IRA                                      Describe debtor's property that is subject to a lien                      $30,000.00       $60,000.00
       Creditor's Name                                Bare land at:
       FBA Tammy Jean Reel IRA                        27790 Ustick
       17171 Park Row #100                            Caldwell, ID 83607
       Houston, TX 77084
       Creditor's mailing address                     Describe the lien

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                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.
       Specified on line 2.44

 2.1
 05    Rhonda Crist                                   Describe debtor's property that is subject to a lien                     $17,000.00       $40,000.00
       Creditor's Name                                Bare land at:
                                                      20040 Silver Spur
       3040 N Willow Side Avenue                      Wilder, ID 83687
       Meridian, ID 83646
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.
       Specified on line 2.25

 2.1
 06    Sag Mire Wie, LLC                              Describe debtor's property that is subject to a lien                     $80,000.00       $70,000.00
       Creditor's Name                                Lot 14 Golden Hills
       2212 E. Roanoke Dr.
       Boise, ID 83712
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
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       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply




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        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.
       Specified on line 2.70

 2.1
 07    Self Directed IRA Services                     Describe debtor's property that is subject to a lien                     $20,000.00       $40,000.00
       Creditor's Name                                Bare land at:
       Custodian FBO Tracy                            20040 Silver Spur
       Petrillo                                       Wilder, ID 83687
       PO Box 23149
       Waco, TX 76702
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.
       Specified on line 2.25

 2.1
 08    Self Directed IRA Services                     Describe debtor's property that is subject to a lien                     $50,000.00      $120,000.00
       Creditor's Name                                Bare land at:
       Custodian FBO Tracy                            12191 Gilgal a/k/a 26499 Cemetary Road
       Petrillo                                       Middleton, ID 83644
       PO Box 23149
       Waco, TX 76702
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
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       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
          Yes. Specify each creditor,                 Unliquidated
       including this creditor and its relative        Disputed
       priority.
       Specified on line 2.81

 2.1
 09    Starr Management Services                      Describe debtor's property that is subject to a lien                     $50,000.00       $30,000.00
       Creditor's Name                                Bare land at:
                                                      Bellomy Lane
       4817 Southside                                 Wilder, ID 83687
       Nampa, ID 83686

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       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
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       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.
       Specified on line 2.51

 2.1
 10    Starr Management Services                      Describe debtor's property that is subject to a lien                     $50,000.00      $320,000.00
       Creditor's Name                                House and 5 acres at:
                                                      9212 Fish Pond
       4817 Southside                                 Melba, ID 83641
       Nampa, ID 83686
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
          Yes. Specify each creditor,                 Unliquidated
       including this creditor and its relative        Disputed
       priority.
       Specified on line 2.94

 2.1
 11    Starr Management Services                      Describe debtor's property that is subject to a lien                     $50,000.00      $300,000.00
       Creditor's Name                                House on 1.3 acres at:
                                                      27394 Warren Lane
       4817 Southside                                 Wilder, ID 83676
       Nampa, ID 83686
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
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       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply




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        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.
       Specified on line 2.1

 2.1
 12    Starr Management Services                      Describe debtor's property that is subject to a lien                     $50,000.00      $300,000.00
       Creditor's Name                                House on 1.27 acres at:
                                                      27438 Warren Lane
       4817 Southside                                 Wilder, ID 83676
       Nampa, ID 83686
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
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       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.
       Specified on line 2.5

 2.1
 13    Starr Management Services                      Describe debtor's property that is subject to a lien                     $50,000.00      $300,000.00
       Creditor's Name                                25978 Chandler
                                                      Wilder, ID 83767
       4817 Southside
       Nampa, ID 83686
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.
       Specified on line 2.46

 2.1   Steve and Melissa
 14    Bowdren                                        Describe debtor's property that is subject to a lien                     $75,000.00             $0.00
       Creditor's Name                                Lot 2 Golden Hills
       2804 W. Sanbora Dr.
       Riverton, UT 84065
       Creditor's mailing address                     Describe the lien




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                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.1
 15    Stock Boise, LLC                               Describe debtor's property that is subject to a lien                     $95,000.00      $250,000.00
       Creditor's Name                                Bare land at:
                                                      17182 Sand Hallow
       PO Box 5551                                    Caldwell, ID 83607
       Boise, ID 83705
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.
       Specified on line 2.10

 2.1
 16    Stock Boise, LLC                               Describe debtor's property that is subject to a lien                     $25,000.00      $250,000.00
       Creditor's Name                                Bare land at:
                                                      17182 Sand Hallow
       PO Box 5551                                    Caldwell, ID 83607
       Boise, ID 83705
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply




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              Name

        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.
       Specified on line 2.10

 2.1
 17    Stock Boise, LLC                               Describe debtor's property that is subject to a lien                     $80,000.00       $80,000.00
       Creditor's Name                                Bare land at:
                                                      123 14th Avenue North
       PO Box 5551                                    Nampa, ID 83651
       Boise, ID 83705
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.
       1. Stock Boise, LLC
       2. Walter McCarthy

 2.1
 18    Stock Boise, LLC                               Describe debtor's property that is subject to a lien                     $50,000.00      $320,000.00
       Creditor's Name                                House and 5 acres at:
                                                      9212 Fish Pond
       PO Box 5551                                    Melba, ID 83641
       Boise, ID 83705
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.
       Specified on line 2.94

 2.1
 19    Stock Boise, LLC                               Describe debtor's property that is subject to a lien                     $40,000.00      $320,000.00
       Creditor's Name                                House and 5 acres at:
                                                      9212 Fish Pond
       PO Box 5551                                    Melba, ID 83641
       Boise, ID 83705
       Creditor's mailing address                     Describe the lien


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                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.
       Specified on line 2.94

 2.1
 20    Stock Boise, LLC                               Describe debtor's property that is subject to a lien                     $160,000.00       $30,000.00
       Creditor's Name                                Base land at:
                                                      5 Centerpoint Rd.
       PO Box 5551                                    Caldwell, ID 83607
       Boise, ID 83705
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.1
 21    Stock Boise, LLC                               Describe debtor's property that is subject to a lien                     $160,000.00      $130,000.00
       Creditor's Name                                904 7th Ave. North
                                                      Nampa, ID 83687
       PO Box 5551
       Boise, ID 83705
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply




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              Name

        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.
       Specified on line 2.24

 2.1
 22    Stock Boise, LLC                               Describe debtor's property that is subject to a lien                     $100,000.00       $70,000.00
       Creditor's Name                                Lot 2 Golden Hills
       PO Box 5551
       Boise, ID 83705
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
          Yes. Specify each creditor,                 Unliquidated
       including this creditor and its relative        Disputed
       priority.
       Specified on line 2.69

 2.1
 23    Stock Boise, LLC                               Describe debtor's property that is subject to a lien                     $200,000.00       $70,000.00
       Creditor's Name                                Lot 14 Golden Hills
       PO Box 5551
       Boise, ID 83705
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.
       Specified on line 2.70

 2.1
 24    Stock Boise, LLC                               Describe debtor's property that is subject to a lien                      $22,000.00      $180,000.00
       Creditor's Name                                125 1st St. North, Nampa, ID 83651
       PO Box 5551
       Boise, ID 83705
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust


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                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
       December, 2016                                  Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.
       Specified on line 2.68

 2.1
 25    Susan & Phillip Emerson                        Describe debtor's property that is subject to a lien                     $10,000.00      $300,000.00
       Creditor's Name                                House on 1 acre lot at:
                                                      19967 Wilson Lane
       12058 Fiddler Drive                            Wilder, ID 83676
       Boise, ID 83713
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
          Yes. Specify each creditor,                 Unliquidated
       including this creditor and its relative        Disputed
       priority.
       Specified on line 2.4

 2.1
 26    Susan & Phillip Emerson                        Describe debtor's property that is subject to a lien                     $70,000.00      $300,000.00
       Creditor's Name                                House on 1.27 acres at:
                                                      27438 Warren Lane
       12058 Fiddler Drive                            Wilder, ID 83676
       Boise, ID 83713
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
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       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply




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        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.
       Specified on line 2.5

 2.1
 27    Susan & Phillip Emerson                        Describe debtor's property that is subject to a lien                      $9,500.00      $300,000.00
       Creditor's Name                                House on 1.27 acres at:
                                                      27438 Warren Lane
       12058 Fiddler Drive                            Wilder, ID 83676
       Boise, ID 83713
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.
       Specified on line 2.5

 2.1
 28    TLP Investments LLC                            Describe debtor's property that is subject to a lien                     $50,000.00      $300,000.00
       Creditor's Name                                House on 1.36 acres at:
                                                      19872 Wilson Lane
       7277 W Cascade Drive                           Wilder, ID 83676
       Boise, ID 83704
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
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       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
          Yes. Specify each creditor,                 Unliquidated
       including this creditor and its relative        Disputed
       priority.
       Specified on line 2.2

 2.1
 29    TLP Investments LLC                            Describe debtor's property that is subject to a lien                     $10,000.00      $300,000.00
       Creditor's Name                                House on 1.36 acres at:
                                                      19872 Wilson Lane
       7277 W Cascade Drive                           Wilder, ID 83676
       Boise, ID 83704
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust

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                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
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       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.
       Specified on line 2.2

 2.1
 30    TLP Investments LLC                            Describe debtor's property that is subject to a lien                     $50,000.00      $300,000.00
       Creditor's Name                                House on 1.01 acres at:
                                                      19925 Wilson Lane
       7277 W Cascade Drive                           Wilder, ID 83676
       Boise, ID 83704
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
          Yes. Specify each creditor,                 Unliquidated
       including this creditor and its relative        Disputed
       priority.
       Specified on line 2.3

 2.1
 31    Tom Jones                                      Describe debtor's property that is subject to a lien                     $50,000.00      $300,000.00
       Creditor's Name                                House on 1 acre lot at:
                                                      19967 Wilson Lane
       809 N Marshall Street                          Wilder, ID 83676
       Boise, ID 83706
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply




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              Name

        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.
       Specified on line 2.4

 2.1
 32    Triple B LLC                                   Describe debtor's property that is subject to a lien                     $40,000.00       $40,000.00
       Creditor's Name                                Bare land at:
                                                      20189 Silver Spur
       8737 Craydon Drive                             Wilder, Idaho 83687
       Boise, ID 83704-3312
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.
       Specified on line 2.84

 2.1
 33    Triple B LLC                                   Describe debtor's property that is subject to a lien                     $30,000.00       $40,000.00
       Creditor's Name                                Bare land at:
                                                      20157 Silver Spur
       8737 Craydon Drive                             Wilder, ID 83687
       Boise, ID 83704-3312
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
          Yes. Specify each creditor,                 Unliquidated
       including this creditor and its relative        Disputed
       priority.
       Specified on line 2.31

 2.1
 34    Triple B LLC                                   Describe debtor's property that is subject to a lien                     $28,000.00       $40,000.00
       Creditor's Name                                Bare land at:
                                                      20194 Silver Spur
       8737 Craydon Drive                             Wilder, ID 83687
       Boise, ID 83704-3312
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust

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                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.
       Specified on line 2.18

 2.1
 35    Triple B LLC                                   Describe debtor's property that is subject to a lien                     $28,000.00       $40,000.00
       Creditor's Name                                Bare land at:
                                                      20150 Silver Spur
       8737 Craydon Drive                             Wilder, ID 83687
       Boise, ID 83704-3312
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
          Yes. Specify each creditor,                 Unliquidated
       including this creditor and its relative        Disputed
       priority.
       Specified on line 2.19

 2.1
 36    Triple B LLC                                   Describe debtor's property that is subject to a lien                     $28,000.00       $40,000.00
       Creditor's Name                                Bare land at:
                                                      20128 Silver Spur
       8737 Craydon Drive                             Wilder, ID 83687
       Boise, ID 83704-3312
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply




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 Debtor       Shiloh Managment Services, Inc.                                                          Case number (if know)     17-01458
              Name

        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.
       Specified on line 2.20

 2.1
 37    Triple B LLC                                   Describe debtor's property that is subject to a lien                     $30,000.00       $40,000.00
       Creditor's Name                                Bare land at:
                                                      20106 Silver Spur
       8737 Craydon Drive                             Wilder, ID 83687
       Boise, ID 83704-3312
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.
       Specified on line 2.21

 2.1
 38    Triple B LLC                                   Describe debtor's property that is subject to a lien                     $42,500.00       $35,000.00
       Creditor's Name                                Bare land at:
                                                      20154 Ebenezer Lane
       8737 Craydon Drive                             Caldwell, ID 83607
       Boise, ID 83704-3312
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
          Yes. Specify each creditor,                 Unliquidated
       including this creditor and its relative        Disputed
       priority.
       Specified on line 2.22

 2.1
 39    Triple B LLC                                   Describe debtor's property that is subject to a lien                     $25,000.00       $30,000.00
       Creditor's Name                                Bare land at:
                                                      Bellomy Lane
       8737 Craydon Drive                             Wilder, ID 83687
       Boise, ID 83704-3312
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust

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 Debtor       Shiloh Managment Services, Inc.                                                          Case number (if know)     17-01458
              Name

                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.
       Specified on line 2.51

 2.1
 40    Triple B LLC                                   Describe debtor's property that is subject to a lien                     $60,000.00      $120,000.00
       Creditor's Name                                Bare land at:
                                                      12191 Gilgal a/k/a 26499 Cemetary Road
       8737 Craydon Drive                             Middleton, ID 83644
       Boise, ID 83704-3312
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
          Yes. Specify each creditor,                 Unliquidated
       including this creditor and its relative        Disputed
       priority.
       Specified on line 2.81

 2.1
 41    Triple B LLC                                   Describe debtor's property that is subject to a lien                     $20,000.00      $320,000.00
       Creditor's Name                                House and 5 acres at:
                                                      9212 Fish Pond
       8737 Craydon Drive                             Melba, ID 83641
       Boise, ID 83704-3312
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply




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 Debtor       Shiloh Managment Services, Inc.                                                          Case number (if know)     17-01458
              Name

        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.
       Specified on line 2.94

 2.1
 42    Triple B LLC                                   Describe debtor's property that is subject to a lien                     $30,000.00      $300,000.00
       Creditor's Name                                House on 1.36 acres at:
                                                      19872 Wilson Lane
       8737 Craydon Drive                             Wilder, ID 83676
       Boise, ID 83704-3312
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.
       Specified on line 2.2

 2.1
 43    Triple B LLC                                   Describe debtor's property that is subject to a lien                     $20,000.00      $300,000.00
       Creditor's Name                                House on 1.36 acres at:
                                                      19872 Wilson Lane
       8737 Craydon Drive                             Wilder, ID 83676
       Boise, ID 83704-3312
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
          Yes. Specify each creditor,                 Unliquidated
       including this creditor and its relative        Disputed
       priority.
       Specified on line 2.2

 2.1
 44    Triple B LLC                                   Describe debtor's property that is subject to a lien                          $0.00      $300,000.00
       Creditor's Name                                House on 1 acre lot at:
                                                      19967 Wilson Lane
       8737 Craydon Drive                             Wilder, ID 83676
       Boise, ID 83704-3312
       Creditor's mailing address                     Describe the lien



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 Debtor       Shiloh Managment Services, Inc.                                                          Case number (if know)     17-01458
              Name

                                                      Deed of Trust (paid in July, 2016) not yet
                                                      reconveyed
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative
       priority.
                                                       Disputed
       Specified on line 2.4

 2.1
 45    Triple B LLC                                   Describe debtor's property that is subject to a lien                     $22,000.00      $300,000.00
       Creditor's Name                                House on 1 acre lot at:
                                                      19967 Wilson Lane
       8737 Craydon Drive                             Wilder, ID 83676
       Boise, ID 83704-3312
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
          Yes. Specify each creditor,                 Unliquidated
       including this creditor and its relative        Disputed
       priority.
       Specified on line 2.4

 2.1
 46    Triple B LLC                                   Describe debtor's property that is subject to a lien                     $45,000.00      $300,000.00
       Creditor's Name                                House on 1.27 acres at:
                                                      27438 Warren Lane
       8737 Craydon Drive                             Wilder, ID 83676
       Boise, ID 83704-3312
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply




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 Debtor       Shiloh Managment Services, Inc.                                                          Case number (if know)      17-01458
              Name

        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.
       Specified on line 2.5

 2.1
 47    Triple B LLC                                   Describe debtor's property that is subject to a lien                     $190,000.00      $250,000.00
       Creditor's Name                                16653 Garnett
                                                      Wilder, ID 83767
       8737 Craydon Drive
       Boise, ID 83704-3312
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
          Yes. Specify each creditor,                 Unliquidated
       including this creditor and its relative        Disputed
       priority.
       Specified on line 2.56

 2.1
 48    Walter McCarthy                                Describe debtor's property that is subject to a lien                      $20,000.00       $80,000.00
       Creditor's Name                                Bare land at:
                                                      123 14th Avenue North
       2295 N Linda Vista Place                       Nampa, ID 83651
       Boise, ID 83704
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.
       Specified on line 2.117

 2.1
 49    Walter McCarthy                                Describe debtor's property that is subject to a lien                      $15,000.00      $300,000.00
       Creditor's Name                                House on 1.01 acres at:
                                                      19925 Wilson Lane
       2295 N Linda Vista Place                       Wilder, ID 83676
       Boise, ID 83704
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust

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 Debtor       Shiloh Managment Services, Inc.                                                          Case number (if know)     17-01458
              Name

                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.
       Specified on line 2.3

 2.1
 50    Walter McCarthy                                Describe debtor's property that is subject to a lien                     $30,000.00      $300,000.00
       Creditor's Name                                19944 Wilson
                                                      Wilder, ID 83767
       2295 N Linda Vista Place
       Boise, ID 83704
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.
       Specified on line 2.6

 2.1
 51    Walter McCarthy                                Describe debtor's property that is subject to a lien                     $35,000.00      $300,000.00
       Creditor's Name                                19972 Wilson
                                                      Wilder, ID 83767
       2295 N Linda Vista Place
       Boise, ID 83704
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
          Yes. Specify each creditor,                 Unliquidated
       including this creditor and its relative        Disputed
       priority.
       Specified on line 2.7
Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                 page 62 of 63
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 Debtor       Shiloh Managment Services, Inc.                                                          Case number (if know)       17-01458
              Name



 2.1
 52     Walter McCarthy                               Describe debtor's property that is subject to a lien                      $25,000.00         $170,000.00
        Creditor's Name                               134 Delaware
        2295 N Linda Vista Place
        Boise, ID 83704
        Creditor's mailing address                    Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                       No
        Creditor's email address, if known             Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                         No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
         No                                           Contingent
           Yes. Specify each creditor,                Unliquidated
        including this creditor and its relative       Disputed
        priority.
        Specified on line 2.12

                                                                                                                               $10,563,438.
 3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                        93

 Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity
         Judyth Roberts
         3363 S Bridgeport Lane                                                                                Line   2.69
         Boise, ID 83706

         STORER & ASSOCIATES
         4850 N Rosepoint Way                                                                                  Line   2.100
         Suite 104
         Boise, ID 83713

         The Patrick Law Group
         Attn: Rudy Patrick                                                                                    Line   2.77
         129 E. Pine Ave.
         Meridian, ID 83642




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 Fill in this information to identify the case:

 Debtor name         Shiloh Managment Services, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF IDAHO

 Case number (if known)          17-01458
                                                                                                                                           Check if this is an
                                                                                                                                                amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

           No. Go to Part 2.
           Yes. Go to line 2.
       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                  Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                              $0.00     $0.00
           Canyon County Tax Assessor                                Check all that apply.
           P.O. Box 1010                                              Contingent
           Caldwell, ID 83606                                         Unliquidated
                                                                      Disputed
           Date or dates debt was incurred                           Basis for the claim:
                                                                     Property taxes
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                        No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                              $0.00     $0.00
           Idaho State Tax Commission                                Check all that apply.
           P.O. Box 36                                                Contingent
           800 Park Blvd                                              Unliquidated
           Boise, ID 83722                                            Disputed
           Date or dates debt was incurred                           Basis for the claim:
                                                                     Income taxes
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                        No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                  page 1 of 7
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 Debtor       Shiloh Managment Services, Inc.                                                                 Case number (if known)          17-01458
              Name

 2.3       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                       $0.00    $0.00
           Internal Revenue Service                                  Check all that apply.
           PO BOX 7346                                                Contingent
           Philadelphia, PA 19114                                     Unliquidated
                                                                      Disputed
           Date or dates debt was incurred                           Basis for the claim:
                                                                     Income & business taxes
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                        No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.4       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                       $0.00    $0.00
           Owyhee County Assessor                                    Check all that apply.
           PO Box 128                                                 Contingent
           Murphy, ID 83650                                           Unliquidated
                                                                      Disputed
           Date or dates debt was incurred                           Basis for the claim:
                                                                     Property taxes
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                        No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes


 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.              $45,000.00
           Alex Soran                                                               Contingent
           911 North College Rd                                                     Unliquidated
           Twin Falls, ID 83301                                                     Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?    No  Yes
 3.2       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                $1,800.00
           Bar XL, LLC                                                              Contingent
           PO Box 785                                                               Unliquidated
           Caldwell, ID 83606                                                       Disputed
           Date(s) debt was incurred     5/31/2017                                 Basis for the claim:     Services
           Last 4 digits of account number    4595
                                                                                   Is the claim subject to offset?    No  Yes
 3.3       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.              $70,000.00
           Beldon LLC                                                               Contingent
           904 E Maple Street                                                       Unliquidated
           Caldwell, ID 83605                                                       Disputed
           Date(s) debt was incurred     February, 2017                            Basis for the claim:     Business Loan
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                         Page 2 of 7
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 Debtor       Shiloh Managment Services, Inc.                                                         Case number (if known)            17-01458
              Name

 3.4      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Beldon LLC                                                          Contingent
          904 E Maple Street                                                  Unliquidated
          Caldwell, ID 83605                                                  Disputed
          Date(s) debt was incurred      August, 2017                        Basis for the claim:    Business Loan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $360.00
          Century Link                                                        Contingent
          PO Box 29040                                                        Unliquidated
          Phoenix, AZ 85038                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Internet
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $5,000.00
          Chase                                                               Contingent
          PO Box 15298                                                        Unliquidated
          Wilmington, DE 19850                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Overdrawn checking account
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $15,000.00
          Cris Stark                                                          Contingent
          7605 NE 167th St.                                                   Unliquidated
          Kenmore, WA                                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $301,918.00
          David Cairo                                                         Contingent
          623 Park Way                                                        Unliquidated
          South San Francisco, CA 94080                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $652,852.00
          Ed Tate                                                             Contingent
          354 SW MT Mazama St                                                 Unliquidated
          McMinnville, OR 97128-5571                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $180.64
          Gemtek Pest Control                                                 Contingent
          1481 Goodall St.                                                    Unliquidated
          Suite 101                                                           Disputed
          Garden City, ID 83714
                                                                             Basis for the claim:    Pest Control
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,000.00
          ICON Federal Credit Union                                           Contingent
          1010 N. Rise ST                                                     Unliquidated
          Boise, ID 83703                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Overdrawn checking account
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $190,000.00
          Jim & Joanne Willis                                                 Contingent
          11250 W Royal Ridge Ct                                              Unliquidated
          Nampa, ID 83686                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Joe LaGue                                                           Contingent
          14435 W Guinness Dr                                                 Unliquidated
          Boise, ID 83713                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          John Larimer                                                        Contingent
          2484 Rock Creek Rd                                                  Unliquidated
          Hansen, ID 83334                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $42,996.74
          Kabbage                                                             Contingent
          925B Peachtree Street NE                                            Unliquidated
          Suite 1688                                                          Disputed
          Atlanta, GA 30309
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $340,000.00
          Katherine Fischer                                                   Contingent
          3 Wildwood Court                                                    Unliquidated
          Daly City, CA 94015                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $327,780.00
          Kingdom Trust FBO                                                   Contingent
          Lanny Johnson                                                       Unliquidated
          PO Box 870                                                          Disputed
          Murray, KY 42071
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $15,000.00
          Kingdom Trust FBO                                                   Contingent
          Alett R. Burlison                                                   Unliquidated
          PO Box 870                                                          Disputed
          Murray, KY 42071
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $3,500.00
          Kohler & Eyre                                                       Contingent
          1883 W. Royal Hunte Dr.                                             Unliquidated
          Suite 201                                                           Disputed
          Cedar City, UT 84720
                                                                             Basis for the claim:    Accounting Services
          Date(s) debt was incurred 2017
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $300,000.00
          Laina Romani                                                        Contingent
          280 Evergreen Drive                                                 Unliquidated
          South San Francisco, CA                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $49,957.00
          LoanMe, Inc.                                                        Contingent
          1900 S State College Blvd                                           Unliquidated
          Suite 300                                                           Disputed
          Anaheim, CA 92806
                                                                             Basis for the claim:    Business Taxes
          Date(s) debt was incurred
          Last 4 digits of account number       7730                         Is the claim subject to offset?    No  Yes
 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Marian Nelson                                                       Contingent
          21614 85th Pl. W                                                    Unliquidated
          Edmonds, WA                                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $3,175.00
          Mark Perison/Tricia Soper                                           Contingent
          Mark D. Perision PA                                                 Unliquidated
          P.O. Box 2575                                                       Disputed
          Boise, ID 83707-2535
                                                                             Basis for the claim:    Legal Services
          Date(s) debt was incurred September, 2017
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $80,000.00
          Melvin Copple                                                       Contingent
          4551 W. Saddle Ridge Dr                                             Unliquidated
          Nampa, ID 83687                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 5 of 7
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              Name

 3.25      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $35,000.00
           Money Tree                                                         Contingent
           2025 12th Ave Rd #160                                              Unliquidated
           Nampa, ID 83686                                                    Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.26      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.        $1,000,000.00
           Par Funding                                                        Contingent
           141 N 2nd Street                                                   Unliquidated
           Philadelphia, PA 19106                                             Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Business Expense
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.27      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $70,000.00
           Pete Stogner                                                       Contingent
           2286 Leventine St.                                                 Unliquidated
           Suite A                                                            Disputed
           Carlsbad, CA 92009
                                                                             Basis for the claim:    Business loan
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?    No  Yes
 3.28      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $50,000.00
           Rob Cairo                                                          Contingent
           629 25th Ave                                                       Unliquidated
           San Francisco, CA                                                  Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.29      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $800.00
           TruGreen Processing Center                                         Contingent
           PO Box 78611                                                       Unliquidated
           Phoenix, AZ 85062                                                  Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Landscaping services
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.30      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.           $350,000.00
           TVT                                                                Contingent
           122 East 42nd Street                                               Unliquidated
           Suite 2112                                                         Disputed
           New York, NY 10168
                                                                             Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?    No  Yes

 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the       Last 4 digits of
                                                                                                      related creditor (if any) listed?             account number, if
                                                                                                                                                    any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                       Total of claim amounts

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 6 of 7
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              Name

 5a. Total claims from Part 1                                                                       5a.       $                    0.00
 5b. Total claims from Part 2                                                                       5b.   +   $            4,126,319.38

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                            5c.       $              4,126,319.38




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 Fill in this information to identify the case:

 Debtor name         Shiloh Managment Services, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF IDAHO

 Case number (if known)         17-01458
                                                                                                                                Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.      Does the debtor have any executory contracts or unexpired leases?
         No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
       Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal             Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

 2.1.         State what the contract or                  Sales Contract for
              lease is for and the nature of              property at 25978
              the debtor's interest                       Chandler Dr., Canyon,
                                                          ID 83676
                  State the term remaining
                                                                                      Jose Solorzano
              List the contract number of any                                         19370 Hudson Creek Ave.
                    government contract                                               Caldwell, ID 83605




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                            Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         Shiloh Managment Services, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF IDAHO

 Case number (if known)         17-01458
                                                                                                                           Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                      12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

  No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
  Yes
   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                    Name                          Check all schedules
                                                                                                                                that apply:

    2.1      Jeanette Pyles                    6401 W. Overland Rd                                Joe LaGue                     D
                                               Meridian, ID 83642                                                                E/F        3.13
                                                                                                                                G



    2.2      Jeanette Pyles                    6401 W. Overland Rd                                Bridger Street                D       2.14
                                               Meridian, ID 83642                                 Apartments                     E/F
                                                                                                                                G



    2.3      Nathan Pyles                      6401 W. Overland Rd                                Flash Investments,            D       2.46
                                               Meridian, ID 83642                                 LLC                            E/F
                                                                                                                                G



    2.4      Nathan Pyles                      6401 W. Overland Rd                                Flash Investments,            D       2.47
                                               Meridian, ID 83642                                 LLC                            E/F
                                                                                                                                G



    2.5      Nathan Pyles                      6401 W. Overland Rd                                Joe Thompson                  D       2.68
                                               Meridian, ID 83642                                                                E/F
                                                                                                                                G




Official Form 206H                                                            Schedule H: Your Codebtors                                     Page 1 of 7
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            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                          Column 2: Creditor



    2.6      Nathan Pyles                      6401 W. Overland Rd                                Steve and Melissa              D       2.114
                                               Meridian, ID 83642                                 Bowdren                         E/F
                                                                                                                                 G



    2.7      Nathan Pyles                      6401 W. Overland Rd                                Stock Boise, LLC               D       2.115
                                               Meridian, ID 83642                                                                 E/F
                                                                                                                                 G



    2.8      Nathan Pyles                      6401 W. Overland Rd                                Stock Boise, LLC               D       2.116
                                               Meridian, ID 83642                                                                 E/F
                                                                                                                                 G



    2.9      Nathan Pyles                      6401 W. Overland Rd                                Stock Boise, LLC               D       2.117
                                               Meridian, ID 83642                                                                 E/F
                                                                                                                                 G



    2.10     Nathan Pyles                      6401 W. Overland Rd                                Stock Boise, LLC               D       2.118
                                               Meridian, ID 83642                                                                 E/F
                                                                                                                                 G



    2.11     Nathan Pyles                      6401 W. Overland Rd                                Stock Boise, LLC               D       2.119
                                               Meridian, ID 83642                                                                 E/F
                                                                                                                                 G



    2.12     Nathan Pyles                      6401 W. Overland Rd                                Stock Boise, LLC               D       2.120
                                               Meridian, ID 83642                                                                 E/F
                                                                                                                                 G



    2.13     Nathan Pyles                      6401 W. Overland Rd                                Stock Boise, LLC               D       2.121
                                               Meridian, ID 83642                                                                 E/F
                                                                                                                                 G




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            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                          Column 2: Creditor



    2.14     Nathan Pyles                      6401 W. Overland Rd                                Stock Boise, LLC               D       2.122
                                               Meridian, ID 83642                                                                 E/F
                                                                                                                                 G



    2.15     Nathan Pyles                      6401 W. Overland Rd                                Stock Boise, LLC               D       2.123
                                               Meridian, ID 83642                                                                 E/F
                                                                                                                                 G



    2.16     Nathan Pyles                      6401 W. Overland Rd                                Stock Boise, LLC               D       2.124
                                               Meridian, ID 83642                                                                 E/F
                                                                                                                                 G



    2.17     Nathan Pyles                      6401 W Overland Rd                                 TLP Investments LLC            D       2.128
                                               Meridian, ID 83642                                                                 E/F
                                                                                                                                 G



    2.18     Nathan Pyles                      6401 W Overland Rd                                 TLP Investments LLC            D       2.129
                                               Meridian, ID 83642                                                                 E/F
                                                                                                                                 G



    2.19     Nathan Pyles                      6401 W. Overland Rd                                TLP Investments LLC            D       2.130
                                               Meridian, ID 83642                                                                 E/F
                                                                                                                                 G



    2.20     Nathan Pyles                      6401 W Overland Rd                                 Triple B LLC                   D       2.132
                                               Meridian, ID 83642                                                                 E/F
                                                                                                                                 G



    2.21     Nathan Pyles                      6401 W. Overland Rd                                Triple B LLC                   D       2.133
                                               Meridian, ID 83642                                                                 E/F
                                                                                                                                 G




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    2.22     Nathan Pyles                      6401 W Overland Rd                                 Triple B LLC                   D       2.134
                                               Meridian, ID 83642                                                                 E/F
                                                                                                                                 G



    2.23     Nathan Pyles                      6401 W Overland Rd                                 Triple B LLC                   D       2.135
                                               Meridian, ID 83642                                                                 E/F
                                                                                                                                 G



    2.24     Nathan Pyles                      6401 W. Overland Rd                                Triple B LLC                   D       2.136
                                               Meridian, ID 83642                                                                 E/F
                                                                                                                                 G



    2.25     Nathan Pyles                      6401 W Overland Rd                                 Triple B LLC                   D       2.137
                                               Meridian, ID 83642                                                                 E/F
                                                                                                                                 G



    2.26     Nathan Pyles                      6401 W. Overland Rd                                Triple B LLC                   D       2.138
                                               Meridian, ID 83642                                                                 E/F
                                                                                                                                 G



    2.27     Nathan Pyles                      6401 W. Overland Rd                                Triple B LLC                   D       2.139
                                               Meridian, ID 83642                                                                 E/F
                                                                                                                                 G



    2.28     Nathan Pyles                      6401 W. Overland Rd                                Triple B LLC                   D       2.140
                                               Meridian, ID 83642                                                                 E/F
                                                                                                                                 G



    2.29     Nathan Pyles                      6401 W Overland Rd                                 Triple B LLC                   D       2.141
                                               Meridian, ID 83642                                                                 E/F
                                                                                                                                 G




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    2.30     Nathan Pyles                      6401 W. Overland Rd                                Triple B LLC                   D       2.142
                                               Meridian, ID 83642                                                                 E/F
                                                                                                                                 G



    2.31     Nathan Pyles                      6401 W. Overland Rd                                Triple B LLC                   D       2.143
                                               Meridian, ID 83642                                                                 E/F
                                                                                                                                 G



    2.32     Nathan Pyles                      6401 W Overland Rd                                 Triple B LLC                   D       2.144
                                               Meridian, ID 83642                                                                 E/F
                                                                                                                                 G



    2.33     Nathan Pyles                      6401 W Overland Rd                                 Triple B LLC                   D       2.145
                                               Meridian, ID 83642                                                                 E/F
                                                                                                                                 G



    2.34     Nathan Pyles                      6401 W Overland Rd                                 Triple B LLC                   D       2.146
                                               Meridian, ID 83642                                                                 E/F
                                                                                                                                 G



    2.35     Nathan Pyles                      6401 W. Overland Rd                                Triple B LLC                   D       2.147
                                               Meridian, ID 83642                                                                 E/F
                                                                                                                                 G



    2.36     Nathan Pyles                      6401 W. Overland Rd                                Walter McCarthy                D       2.148
                                               Meridian, ID 83642                                                                 E/F
                                                                                                                                 G



    2.37     Nathan Pyles                      6401 W. Overland Rd                                Walter McCarthy                D       2.149
                                               Meridian, ID 83642                                                                 E/F
                                                                                                                                 G




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    2.38     Nathan Pyles                      6401 W. Overlamd Rd                                Walter McCarthy                D       2.150
                                               Meridian, ID 83642                                                                 E/F
                                                                                                                                 G



    2.39     Nathan Pyles                      6401 W. Overland Rd                                Walter McCarthy                D       2.151
                                               Meridian, ID 83642                                                                 E/F
                                                                                                                                 G



    2.40     Nathan Pyles                      6401 W. Overland Rd                                Walter McCarthy                D       2.152
                                               Meridian, ID 83642                                                                 E/F
                                                                                                                                 G



    2.41     Nathan Pyles                      6401 W. Overland Rd                                MDF & C Investments            D       2.90
                                               Meridian, ID 83642                                 LLC                             E/F
                                                                                                                                 G



    2.42     Nathan Pyles                      6401 W. Overland Rd                                Joe LaGue                      D
                                               Meridian, ID 83642                                                                 E/F       3.13
                                                                                                                                 G



    2.43     Nathan Pyles                      6401 W. Overland Rd                                Bridger Street                 D       2.14
                                               Meridian, ID 83642                                 Apartments                      E/F
                                                                                                                                 G



    2.44     Nathan Pyles                      6401 W. Overland Rd                                TVT                            D
                                               Meridian, ID 83642                                                                 E/F       3.30
                                                                                                                                 G



    2.45     Nathan Pyles                      6401 W. Overland Rd                                Par Funding                    D
                                               Meridian, ID 83642                                                                 E/F       3.26
                                                                                                                                 G




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    2.46     Nathan Pyles                      6401 W. Overland Rd                                Kabbage                        D
                                               Meridian, ID 83642                                                                 E/F       3.15
                                                                                                                                 G



    2.47     Nathan Pyles                      6401 W. Overland Rd                                LoanMe, Inc.                   D
                                               Meridian, ID 83642                                                                 E/F       3.21
                                                                                                                                 G



    2.48     Nathan Pyles                      6401 W. Overland Rd                                Money Tree                     D
                                               Meridian, ID 83642                                                                 E/F       3.25
                                                                                                                                 G



    2.49     Nathon Pyles                      6401 W. Overland Rd                                MDF & C Investments            D       2.89
                                               Meridian, ID 83642                                 LLC                             E/F
                                                                                                                                 G




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